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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY



  IN RE: JOHNSON & JOHNSON                       MDL No. 3:16-md-02738-MAS-RLS
  TALCUM POWDER PRODUCTS
  MARKETING, SALES PRACTICES,
  AND PRODUCTS LIABILITY
  LITIGATION


    NOTICE OF OBJECTIONS TO THE SPECIAL MASTER’S ORDER
  DENYING DEFENDANTS’ MOTION TO COMPEL INSPECTION OF DR.
               WILLIAM LONGO’S LABORATORY

      PLEASE TAKE NOTICE that on August 5, 2024, the undersigned counsel

will bring Defendants Johnson & Johnson and LLT Management, LLC

(“Defendants”)’s Objections to the Special Master’s Order Denying Defendants’

Motion to Compel an Inspection of Dr. William Longo’s Laboratory (ECF 32826)

before this Court. Defendants will ask for entry of an order vacating the Special

Master’s June 17, 2024, Order (ECF 32826) denying Defendants’ Motion to

Compel, and ordering Plaintiffs to make the following available for inspection:

    1.   All PLM microscopes used by MAS at 3945 Lakefield Ct, Suwanee, GA
         30024 for its analysis of the materials referenced in Defendants’ Requests
         for Production 20-24 (attached hereto as Exhibit M at 10-12);

    2.   MAS’s methodology for preparing the materials referenced in Defendants’
         requests for production 20-24 (Ex. M at 10-12) for subsequent analysis by
         PLM for the identification of “chrysotile,” including but not limited to
         observing in real time the preparation of one or more samples of Johnsons
         Baby Powder performed by MAS; and
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     3. MAS’s methodology for analyzing the materials referenced in Defendants’
        Requests for Production 20-24 (Ex. M at 10-12) for analysis by PLM for
        the identification of “chrysotile,” including but not limited to observing in
        real time the analyses performed by MAS on the samples of Johnsons
        Baby Powder, as well as Defendants’ experts undertaking real time,
        contemporaneous observation of the samples on the same PLM equipment
        used by MAS in which MAS has previously reported, and may during the
        inspection report, observing “chrysotile.”

      PLEASE TAKE FURTHER NOTICE that in support of their motion,

   Defendants shall rely upon the Brief submitted herewith, the Declaration of

   Matthew Bush, Esq., together with exhibits, and any reply submissions made

   hereafter; and

      PLEASE TAKE FURTHER NOTICE that a proposed Order is submitted

   herewith; and

      PLEASE TAKE FURTHER NOTICE that oral argument is requested.

  Dated: July 1, 2024                     Respectfully submitted,

                                          /s/ Kristen R. Fournier
                                          Kristen R. Fournier

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